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July 17, 2025
VIA ECF
Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:      Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
         Jones et al. v. Abel et al., No. 1:25-cv-00779-LJL

Dear Judge Liman:
In response to the Order dated July 17, 2025 (Dkt. 434), and on behalf of Wayfarer Studios LLC,
Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With Us Movie LLC, Melissa Nathan, The
Agency Group PR LLC, and Jennifer Abel (collectively, the “Wayfarer Parties”), we move for
continued sealing of Dkt. 332-1 for the same reasons set forth in our letter dated June 17, 2025.
(Dkt. 349).

Respectfully submitted,


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